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Magistrate Judge Fricke

 

 

 

 

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT TACOMA
UNITED STATES OF AMERICA, NO. MJ18-5151
Plaintiff, MOTION FOR DETENTION ORDER
Vv.
PHILLIP DAEKWON MILES,
Defendant.

 

 

The United States moves for detention of the Defendant, pursuant to 18 U.S.C. §
3142(e) and (f).

1. Eligibility of Case. This case is eligible for a detention order because this
case involves (check all that apply):

X Crime of violence (18 U.S.C. § 3156)

Crime of Terrorism (18 U.S.C. § 2332b(g)(5)(B)) with a maximum
sentence of ten years or more

X.——- Crime with a maximum sentence of life imprisonment or death
Drug offense with a maximum sentence of ten years or more

Felony offense and defendant has two prior convictions in the four
categories above, or two State convictions that would otherwise fall within
these four categories if federal jurisdiction had existed

Motion for Detention/Miles UNITED STATES ATTORNEY
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Felony offense involving a minor victim other than a crime of violence

Felony offense, other than a crime of violence, involving possession or use
of a firearm, destructive device (as those terms are defined in 18 U.S.C. § 921), or any
other dangerous weapon

Felony offense other than a crime of violence that involves a failure to
register as a Sex Offender (18 U.S.C. § 2250)

xX Serious risk the defendant will flee

X __—- Serious risk of obstruction of justice, including intimidation of a

prospective witness or juror

2. Reason for Detention. The Court should detain defendant because there are

no conditions of release which will reasonably assure (check one or both):

_X Defendant's appearance as required

x Safety of any other person and the community

3. Rebuttable Presumption. The United States will invoke the rebuttable

presumption against defendant under § 3142(e). The presumption applies because:

Probable cause to believe defendant committed offense within five years of
release following conviction for a “qualifying offense” committed while. on
pretrial release

Probable cause to believe defendant committed drug offense with a
maximum sentence of ten years or more

X Probable cause to believe defendant committed a violation of one of the
following offenses: 18 U.S.C. §§ 924(c), 956 (conspiracy to murder or
kidnap), 2332b (act of terrorism), 2332b(g)(5)(B) (crime of terrorism)

Probable cause to believe defendant committed an offense involving a
victim under the age of 18 under 18 U.S.C. §§ 1591, 2241, 2242,
2244(a)(1), 2245, 2251, 2251A, 2252(a)(1) through 2252(a)(3),
2252A(a)(1) through 2252A(a)(4), 2260, 2421, 2422, 2423 or 2425

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4. Time for Detention Hearing. The United States requests the Court conduct
the detention hearing:

xX At the initial appearance
After continuance of 3 days (not more than 3)
5. Other matters.
DATED this 14th day of June, 2018.
Respectfully submitted,

ANNETTE L. HAYES
United States 4.0 4

 

Arner GRUBER
Assistant United States Attorney

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